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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


    In re:                                       Chapter 11
                                             1
    DIAMOND SPORTS GROUP, LLC, et al.,           Case No. 23-90116 (CML)

                                Debtors.         (Jointly Administered)



                    ORDER GRANTING DEBTORS’ EMERGENCY MOTION
                            FOR DISCOVERY CONFERENCE
                               [Related to Docket No. ___]

             Having considered the Debtors’ Emergency Motion for Discovery Conference (the

“Motion”), it is hereby ORDERED THAT the Motion is GRANTED, and the Court will hold a

status conference on June 18, 2024, at 11:30 a.m. (prevailing Central Time).



    Dated: _______________, 2024                 ____________________________________
    Houston, Texas                               The Honorable Christopher M. Lopez
                                                 United States Bankruptcy Judge




1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the
website of the Debtors’ proposed claims and noticing agent at https://cases.ra.kroll.com/ DSG.
The Debtors’ service address for purposes of these chapter 11 cases is: c/o Diamond Sports Group,
LLC, 3003 Exposition Blvd., Santa Monica, CA 90404.
